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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF OREGON



                                                Case No.:
KELSEY TERRY,
                                                COMPLAINT;
              Plaintiff,
                                                FAIR DEBT COLLECTION PRACTICES
    vs.                                         ACT (15 USC 1692) ; INTENTIONAL
TRANSWORLD SYSTEMS, INC., dba                   INFLICTION OF EMOTIONAL
CREDIT MANAGEMENT SERVICES,                     DISTRESS

              Defendant                         DEMAND FOR JURY TRIAL

                                 I. INTRODUCTION
1.     This is an action for damages brought by an individual consumer for Defendant’s

violations of the following provisions, resulting from abusive behavior against Plaintiff in

the course of Defendant’s attempt to collect a debt:

              (1) The Federal Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et

              seq. (hereinafter “FDCPA”)

              (2) Intentional Infliction of Severe Emotional Distress




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                                   II. JURISDICTION

2.      The FDCPA claim arises under 15 U.S.C. § 1692k(d), and therefore involves a

“federal question” pursuant to 28 USC § 1331. This court has supplemental jurisdiction

over the Oregon State claim pursuant to 28 USC § 1367(a).

                                   III. PARTIES

3.      Plaintiff, Kelsey Terry (“Plaintiff”), is a natural person residing in Lane County,

Oregon.

4.      Defendant, Transworld Systems, Inc., (“Defendant”) is a corporation engaged in

the business of collecting debts by use of the mails and telephone, and Defendant

regularly attempts to collect debts alleged to be due another.

                            IV. FACTUAL ALLEGATIONS

5.      Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. § 1692a(6).

6.      Within the last 60 days, Defendant contacted Plaintiff by telephone in an attempt

to collect an alleged outstanding debt. During that telephone conversation, Defendant

performed the following acts, which amount to violations under various federal and state

laws:

           a) Defendant threatened to throw Plaintiff in jail in connection with the

              alleged debt (Violated FDCPA: 15 USC §16292(e);

           b) Defendant failed to validate the debt at the time of initial contact and/or in

              writing within five days thereafter (Violated FDCPA: 15 USC §1692g(a)).




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7.     As a result of the aforementioned violations, Plaintiff suffered and continues to

suffer injuries to Plaintiff’s feelings, personal humiliation, embarrassment, mental

anguish and severe emotional distress.

8.     Defendant intended to cause, by means of the actions detailed in paragraph 7,

injuries to Plaintiff’s feelings, personal humiliation, embarrassment, mental anguish and

severe emotional distress.

9.     Defendant’s action, detailed in paragraph 7, was undertaken with extraordinary

disregard of, or indifference to, known or highly probable risks to purported debtors.

10.    Defendant’s actions, detailed in paragraph 7, constituted an extraordinary

transgression of the bounds of socially tolerable conduct

11.    To the extent Defendant’s actions, detailed in paragraph 7, were carried out by an

employee of Defendant, that employee was acting within the scope of his or her

employment.

                             IV.    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant for the following:

       A.      Declaratory judgment that Defendant’s conduct violated the FDCPA
       B.      Actual damages pursuant to 15 USC 1692k and the Common
               Law of Oregon;
       C.      Statutory damages pursuant to 15 U.S.C. § 1692k and punitive damages
               pursuant the Common Law of Oregon.




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D.      Costs, disbursements and reasonable attorney’s fees for all successful
claims, and    any unsuccessful claims arising out of the same transaction or
occurrence as the successful claims, pursuant to 15 U.S.C. § 1692k and the
Common Law of Oregon; and,
E.      For such other and further relief as may be just and proper.

            PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY

                                        Dated this 6th day of June 2007.
                                            By:___________________
                                            Joshua Trigsted
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                                  Complaint - 4
